EXHIBIT A
             IN THE CIRCUIT COURT OF DEKALB COUNTY, MISSOURI

SKYLAR D. KOONTZ,                           )
                                            )
                      Plaintiff,            )
                                            )
v.                                          )       Case No.: 20DK-CC00038
                                            )
SCHNEIDER ELECTRIC, USA, INC.,              )
AND                                         )
DAVID E. WAREN,                             )
                                            )
                      Defendants.           )

     DEFENDANTS SCHNEIDER ELECTRIC, USA, INC. AND DAVID E. WAREN’S
         NOTICE TO STATE COURT OF REMOVAL TO FEDERAL COURT


       You are hereby notified that on January 13, 2021, Defendants Schneider Electric, USA,

Inc. and David E. Waren removed this case to the United States District Court for the Western

District of Missouri pursuant to 28 U.S.C. §§ 1332, 1441, and 1446. A copy of the notice of

removal is attached hereto as Exhibit 1.


                                            Respectfully submitted,
                                            BAKER STERCHI COWDEN & RICE, L.L.C.
                                            /s/ James S. Kreamer
                                            James S. Kreamer, Esq. MO #39682
                                            Brett M. Simon, Esq. MO #68395
                                            2400 Pershing Road, Suite 500
                                            Kansas City, MO 64108
                                            Telephone:      (816) 471-2121
                                            Facsimile:      (816) 472-0288
                                            kreamer@bscr-law.com
                                            bsimon@bscr-law.com
                                            ATTORNEYS FOR DEFENDANTS SCHNEIDER
                                            ELECTRIC, USA, INC. and DAVID E. WAREN




                                                1
                                  CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this 13th day of January, 2021, a true and correct

copy of the foregoing was electronically filed with the Clerk of the Court, using the Court’s

electronic filing system, which will send notification of the following to all counsel of record.




                                                      /s/ James S. Kreamer




                                                 2
                                                                                                    Electronically Filed - DeKalb - December 31, 2020 - 10:09 AM
             IN THE CIRCUIT COURT OF DEKALB COUNTY, MISSOURI

SKYLAR D. KOONTZ,                           )
                                            )
       Plaintiff,                           )
                                            )
vs.                                         )       Case No.: 20DK-CC00038
                                            )
SCHNEIDER ELECTRIC, USA, INC,               )
and DAVID E. WAREN                          )
                                            )
       Defendants.                          )

                               CERTIFICATE OF SERVICE

       COMES NOW Plaintiff, by and through her attorney of record, and hereby certifies that

Plaintiff’s Opening Interrogatories to Defendant David E. Waren and Plaintiff’s First Request for

Production of Documents to Defendant David E. Waren were served simultaneously with the

Summons and Plaintiff’s Petition for Damages.



                                            Respectfully Submitted,


                                            WELCH & WEBB, LLC


                                            /s/ Pamela J. Welch
                                            Jared P. Welch #51860
                                            Pamela J. Welch #52821
                                            500 Third Street, P.O. Box 1427
                                            Platte City, MO 64079
                                            816-858-3007 telephone
                                            816-858-3105 facsimile
                                            jwelch@welchwebb.com
                                            pwelch@welchwebb.com
                                            Attorneys for Plaintiff
Electronically Filed - DeKalb - December 31, 2020 - 10:09 AM
                                                                                                       Electronically Filed - DeKalb - December 21, 2020 - 11:09 AM
             IN THE CIRCUIT COURT OF DEKALB COUNTY, MISSOURI

SKYLAR D. KOONTZ,                             )
                                              )
       Plaintiff,                             )
                                              )
vs.                                           )      Case No.: 20DK-CC00038
                                              )
SCHNEIDER ELECTRIC, USA, INC,                 )
and DAVID E. WAREN                            )
                                              )
       Defendants.                            )

                                CERTIFICATE OF SERVICE

       COMES NOW Plaintiff, by and through her attorney of record, and hereby certifies that

Plaintiff’s Opening Interrogatories to Defendant Schneider Electric, USA, Inc. and Plaintiff’s First

Request for Production of Documents to Defendant

       Schneider Electric, USA, Inc. were served simultaneously with the Summons and

Plaintiff’s Petition for Damages.



                                              Respectfully Submitted,


                                              WELCH & WEBB, LLC


                                              /s/ Pamela J. Welch
                                              Jared P. Welch #51860
                                              Pamela J. Welch #52821
                                              500 Third Street, P.O. Box 1427
                                              Platte City, MO 64079
                                              816-858-3007 telephone
                                              816-858-3105 facsimile
                                              jwelch@welchwebb.com
                                              pwelch@welchwebb.com
                                              Attorneys for Plaintiff
Electronically Filed - DeKalb - December 21, 2020 - 11:09 AM
                                                                                                       Electronically Filed - DeKalb - December 03, 2020 - 10:42 AM
              IN THE CIRCUIT COURT OF DEKALB COUNTY, MISSOURI
SKYLAR D. KOONTZ,                             )
9028 N Walrond Ave.                           )                                           FILED
Kansas City, MO 64156                         )                                        12/14/2020
                                              )                                     JULIE WHITSELL
               Plaintiff,                     )                                     CIRCUIT CLERK
                                                                                   DEKALB COUNTY, MO
                                              )
vs.                                           )
                                              )
SCHNEIDER ELECTRIC, USA, INC                  )
Serve:                                        )      Case No.: 20DK-CC00038
CSC-LAWYERS INC. SERVICE CO.                  )
221 Bolivar                                   )
Jefferson City, MO 65101                      )      Division: 1
                                              )
and                                           )
                                              )
DAVID E. WAREN                                )
Serve:                                        )
7727 Acuff Lane                               )
Lenexa, KS 66216                              )
                                              )
               Defendants.                    )

                                             ORDER
       NOW on this ______
                    11th day of _________________,
                                December           2020, the court takes up and considers
Plaintiff’s Motion for Special Process Server and the court finds that the same should be sustained.
       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED by the court that
Rufus Harmon with Harmon Legal Process Service, 1927 Timber Road, Jefferson City, Missouri;
and Jeff Faudere, 920 Main Street, Kansas City, Missouri, be and are hereby authorized to serve
as special process servers in this cause.
                                              _________________________________
                                              Judge
                                                                                                       Electronically Filed - DeKalb - December 03, 2020 - 10:42 AM
              IN THE CIRCUIT COURT OF DEKALB COUNTY, MISSOURI
SKYLAR D. KOONTZ,                             )
9028 N Walrond Ave.                           )
Kansas City, MO 64156                         )
                                              )
               Plaintiff,                     )
                                              )
vs.                                           )
                                              )
SCHNEIDER ELECTRIC, USA, INC                  )
Serve:                                        )      Case No.:
CSC-LAWYERS INC. SERVICE CO.                  )
221 Bolivar                                   )
Jefferson City, MO 65101                      )      Division:
                                              )
and                                           )
                                              )
DAVID E. WAREN                                )
Serve:                                        )
7727 Acuff Lane                               )
Lenexa, KS 66216                              )
                                              )
               Defendants.                    )

                                             ORDER
       NOW on this ______ day of _________________, 2020, the court takes up and considers
Plaintiff’s Motion for Special Process Server and the court finds that the same should be sustained.
       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED by the court that
Rufus Harmon with Harmon Legal Process Service, 1927 Timber Road, Jefferson City, Missouri;
and Jeff Faudere, 920 Main Street, Kansas City, Missouri, be and are hereby authorized to serve
as special process servers in this cause.
                                              _________________________________
                                              Judge
                                                                                                   Electronically Filed - DeKalb - December 03, 2020 - 10:42 AM
             IN THE CIRCUIT COURT OF DEKALB COUNTY, MISSOURI
SKYLAR D. KOONTZ,                            )
9028 N Walrond Ave.                          )
Kansas City, MO 64156                        )
                                             )
               Plaintiff,                    )
                                             )
vs.                                          )
                                             )
SCHNEIDER ELECTRIC, USA, INC                 )
Serve:                                       )       Case No.:
CSC-LAWYERS INC. SERVICE CO.                 )
221 Bolivar                                  )
Jefferson City, MO 65101                     )       Division:
                                             )
and                                          )
                                             )
DAVID E. WAREN                               )
Serve:                                       )
7727 Acuff Lane                              )
Lenexa, KS 66216                             )
                                             )
               Defendants.                   )

                       MOTION FOR SPECIAL PROCESS SERVER

       COMES NOW Plaintiff and for her Motion for Special Process Server and pursuant to the
Local Rules of the Dekalb County Circuit Court, requests that this court appoint Rufus Harmon
with Harmon Legal Process Service, 1927 Timber Road, Jefferson City, Missouri; and Jeff
Faudere, 920 Main Street, Kansas City, Missouri, as special process servers in this cause. Rufus
Harmon and Jeff Faudere are over the age of eighteen (18) years and not parties to this case.
       WHEREFORE, Plaintiff moves this Court to appoint Rufus Harmon and Jeff Faudere as
special process servers for the purpose of serving Defendants in this case.




                                                 1
                               Electronically Filed - DeKalb - December 03, 2020 - 10:42 AM
Respectfully Submitted,



WELCH & WEBB, LLC


/s/ Pamela J. Welch
Pamela J. Welch #52821
Jared P. Welch #51860
500 Third St., P.O. Box 1427
Platte City, MO 64079
816-858-3007 telephone
816-858-3105 facsimile
pwelch@welchwebb.com
jwelch@welchwebb.com
Attorneys for Plaintiff




   2
              IN THE 43RD JUDICIAL CIRCUIT, DEKALB COUNTY, MISSOURI

 Judge or Division:                                          Case Number: 20DK-CC00038
 RYAN WESLEY HORSMAN
 Plaintiff/Petitioner:                                       Plaintiff’s/Petitioner’s Attorney/Address:
 SKYLAR D KOONTZ                                             PAMELA JANE WELCH
                                                             WELCH & WEBB, LLC
                                                             500 THIRD ST
                                                             PO BOX 1427
                                                       vs.   PLATTE CITY, MO 64079
 Defendant/Respondent:                                       Court Address:
 SCHNEIDER ELECTRIC USA INC                                  109 W MAIN
 Nature of Suit:                                             P O BOX 248
 CC Pers Injury-Vehicular                                    MAYSVILLE, MO 64469                                         (Date File Stamp)
                           Summons for Personal Service Outside the State of Missouri
                                                        (Except Attachment Action)
  The State of Missouri to: DAVID E WAREN
                            Alias:
  7727 ACUFF LANE
  LENEXA, KS 66216

     COURT SEAL OF             You are summoned to appear before this court and to file your pleading to the petition, copy of
                               which is attached, and to serve a copy of your pleading upon the attorney for the
                               plaintiff/petitioner at the above address all within 30 days after service of this summons upon
                               you, exclusive of the day of service. If you fail to file your pleading, judgment by default will be
                               taken against you for the relief demanded in this action.
                                 December 2, 2020
                               ___________________________________                _______________________________________________
     DEKALB COUNTY                                  Date                                               Clerk
                               Further Information:
                                                Officer’s or Server’s Affidavit of Service
     I certify that:
     1. I am authorized to serve process in civil actions within the state or territory where the above summons was served.
     2. My official title is __________________________________ of ______________________ County, ________________ (state).
     3. I have served the above summons by: (check one)
                delivering a copy of the summons and a copy of the petition to the defendant/respondent.
                leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the
                defendant/respondent with _________________________________, a person of the defendant’s/respondent’s family
                over the age of 15 years who permanently resides with the defendant/respondent.
                (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                __________________________________________ (name) ___________________________________________ (title).
                 other: ___________________________________________________________________________________________.
     Served at ______________________________________________________________________________________ (address)
     in _____________________________County, _______________ (state), on _______________ (date) at ____________ (time).

     _________________________________________________                          ______________________________________________________
                   Printed Name of Sheriff or Server                                            Signature of Sheriff or Server
                             Subscribed and sworn to before me this ___________ (day) ______________ (month) _________ (year).
                               I am: (check one)   the clerk of the court of which affiant is an officer.
                                                   the judge of the court of which affiant is an officer.
                                                   authorized to administer oaths in the state in which the affiant served the above
          (Seal)
                                                    summons. (use for out-of-state officer)
                                                    authorized to administer oaths. (use for court-appointed server)
                                                                            __________________________________________________________
                                                                                                Signature and Title
    Service Fees
    Summons        $___________________
    Non Est        $___________________
    Mileage        $___________________ (_______________miles @ $ _______ per mile)
    Total          $___________________
                             See the following page for directions to officer making return on service of summons.

OSCA (07-18) SM60 (SMOS) For Court Use Only: Document ID# 20-SMOS-26             1 of 2 (20DK-CC00038)           Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                         506.500, 506.510 RSMo
                            Directions to Officer Making Return on Service of Summons

     A copy of the summons and a copy of the motion must be served on each defendant/respondent. If any
     defendant/respondent refuses to receive the copy of the summons and motion when offered, the return shall be
     prepared accordingly so as to show the offer of the officer to deliver the summons and motion and the
     defendant’s/respondent’s refusal to receive the same.

     Service shall be made: (1) On Individual. On an individual, including an infant or incompetent person not having a
     legally appointed guardian, by delivering a copy of the summons and motion to the individual personally or by
     leaving a copy of the summons and motion at the individual’s dwelling house or usual place of abode with some
     person of the family over 15 years of age who permanently resides with the defendant/respondent, or by delivering
     a copy of the summons and petition to an agent authorized by appointment or required by law to receive service of
     process; (2) On Guardian. On an infant or incompetent person who has a legally appointed guardian, by delivering
     a copy of the summons and motion to the guardian personally; (3) On Corporation, Partnership or Other
     Unincorporated Association. On a corporation, partnership or unincorporated association, by delivering a copy of
     the summons and motion to an officer, partner, or managing or general agent, or by leaving the copies at any
     business office of the defendant/respondent with the person having charge thereof or by delivering copies to its
     registered agent or to any other agent authorized by appointment or required by law to receive service of process;
     (4) On Public or Quasi-Public Corporation or Body. Upon a public, municipal, governmental or quasi-public
     corporation or body in the case of a county, to the mayor or city clerk or city attorney in the case of a city, to the
     chief executive officer in the case of any public, municipal, governmental, or quasi-public corporation or body or to
     any person otherwise lawfully so designated.

     Service may be made by an officer or deputy authorized by law to serve process in civil actions within the state or
     territory where such service is made.

     Service may be made in any state or territory of the United States. If served in a territory, substitute the word
     “territory” for the word “state.”

     The office making the service must swear an affidavit before the clerk, deputy clerk, or judge of the court of which
     the person is an officer or other person authorized to administer oaths. This affidavit must state the time, place, and
     manner of service, the official character of the affiant, and the affiant’s authority to serve process in civil actions
     within the state or territory where service is made.

     Service must be made less than 10 days nor more than 30 days from the date the defendant/respondent is to
     appear in court. The return should be made promptly, and in any event so that it will reach the Missouri court within
     30 days after service.




OSCA (07-18) SM60 (SMOS) For Court Use Only: Document ID# 20-SMOS-26      2 of 2 (20DK-CC00038)        Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                               506.500, 506.510 RSMo
             IN THE 43RD JUDICIAL CIRCUIT, DEKALB COUNTY, MISSOURI

Judge or Division:                                              Case Number: 20DK-CC00038
RYAN WESLEY HORSMAN
Plaintiff/Petitioner:                                           Plaintiff’s/Petitioner’s Attorney/Address
SKYLAR D KOONTZ                                                 PAMELA JANE WELCH
                                                                WELCH & WEBB, LLC
                                                                500 THIRD ST
                                                                PO BOX 1427
                                                          vs.   PLATTE CITY, MO 64079
Defendant/Respondent:                                           Court Address:
SCHNEIDER ELECTRIC USA INC                                      109 W MAIN
Nature of Suit:                                                 P O BOX 248
CC Pers Injury-Vehicular                                        MAYSVILLE, MO 64469
                                                                                                                             (Date File Stamp)

                                                      Summons in Civil Case
  The State of Missouri to: SCHNEIDER ELECTRIC USA INC
                            Serve: CSC-Lawyers, Inc. Service Co.
 221 BOLIVAR
 JEFFERSON CITY, MO 65101
       COURT SEAL OF               You are summoned to appear before this court and to file your pleading to the petition, a
                                   copy of which is attached, and to serve a copy of your pleading upon the attorney for
                                   plaintiff/petitioner at the above address all within 30 days after receiving this summons,
                                   exclusive of the day of service. If you fail to file your pleading, judgment by default may
                                   be taken against you for the relief demanded in the petition.
                                       December 2, 2020
                                     _______________________________               ______________________________________________________
      DEKALB COUNTY
                                                    Date                                                 Clerk
                                   Further Information:
                                                           Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within 30 days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the defendant/respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the defendant/respondent with
           _________________________________________________, a person of the defendant’s/respondent’s family over the age of
           15 years who permanently resides with the defendant/respondent.
         (for service on a corporation) delivering a copy of the summons and a copy of the complaint to:
         _____________________________________________ (name) ____________________________________________ (title).
         other: ______________________________________________________________________________________________.

     Served at _______________________________________________________________________________________ (address)
     in _____________________________ (County/City of St. Louis), MO, on _____________________ (date) at ___________ (time).

     _______________________________________________                             _________________________________________________
                    Printed Name of Sheriff or Server                                              Signature of Sheriff or Server
                                Must be sworn before a notary public if not served by an authorized officer:
                                 Subscribed and sworn to before me on _______________________________ (date).
           (Seal)
                                 My commission expires: __________________                   ________________________________________
                                                                       Date                                     Notary Public
  Sheriff’s Fees, if applicable
  Summons                       $
  Non Est                       $
  Sheriff’s Deputy Salary
  Supplemental Surcharge        $   10.00
  Mileage                       $                  (______ miles @ $.______ per mile)
  Total                         $
  A copy of the summons and a copy of the petition must be served on each defendant/respondent. For methods of service on all
  classes of suits, see Supreme Court Rule 54.


OSCA (06-18) SM30 (SMCC) For Court Use Only: Document Id # 20-SMCC-432              1 of 1             Civil Procedure Form No. 1; Rules 54.01 – 54.05,
                                                                                               54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
                                                                                                       Electronically Filed - DeKalb - November 20, 2020 - 12:19 PM
                                                                              20DK-CC00038

              IN THE CIRCUIT COURT OF DEKALB COUNTY, MISSOURI
SKYLAR D. KOONTZ,                             )
9028 N Walrond Ave.                           )
Kansas City, MO 64156                         )
                                              )
               Plaintiff,                     )
                                              )
vs.                                           )
                                              )
SCHNEIDER ELECTRIC, USA, INC                  )
Serve:                                        )      Case No.:
CSC-LAWYERS INC. SERVICE CO.                  )
221 Bolivar                                   )
Jefferson City, MO 65101                      )      Division:
                                              )
and                                           )
                                              )
DAVID E. WAREN                                )
Serve:                                        )
7727 Acuff Lane                               )
Lenexa, KS 66216                              )
                                              )
               Defendants.                    )

                                             ORDER
       NOW on this ______ day of _________________, 2020, the court takes up and considers
Plaintiff’s Motion for Special Process Server and the court finds that the same should be sustained.
       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED by the court that
Harmon Legal Process Service, 1927 Timber Road, Jefferson City, Missouri; and Jeff Faudere,
920 Main Street, Kansas City, Missouri, be and are hereby authorized to serve as special process
servers in this cause.
                                              _________________________________
                                              Judge
                                                                                                    Electronically Filed - DeKalb - November 20, 2020 - 12:19 PM
                                                                               20DK-CC00038

              IN THE CIRCUIT COURT OF DEKALB COUNTY, MISSOURI
SKYLAR D. KOONTZ,                             )
9028 N Walrond Ave.                           )
Kansas City, MO 64156                         )
                                              )
               Plaintiff,                     )
                                              )
vs.                                           )
                                              )
SCHNEIDER ELECTRIC, USA, INC                  )
Serve:                                        )       Case No.:
CSC-LAWYERS INC. SERVICE CO.                  )
221 Bolivar                                   )
Jefferson City, MO 65101                      )       Division:
                                              )
and                                           )
                                              )
DAVID E. WAREN                                )
Serve:                                        )
7727 Acuff Lane                               )
Lenexa, KS 66216                              )
                                              )
               Defendants.                    )

                        MOTION FOR SPECIAL PROCESS SERVER

       COMES NOW Plaintiff and for her Motion for Special Process Server and pursuant to the
Local Rules of the Dekalb County Circuit Court, requests that this court appoint Harmon Legal
Process Service, 1927 Timber Road, Jefferson City, Missouri; and Jeff Faudere, 920 Main Street,
Kansas City, Missouri, as special process servers in this cause. Harmon Legal Process Service and
Jeff Faudere are over the age of eighteen (18) years and not parties to this case.
       WHEREFORE, Plaintiff moves this Court to appoint Harmon Legal Process Service and
Jeff Faudere as special process servers for the purpose of serving Defendants in this case.




                                                  1
                               Electronically Filed - DeKalb - November 20, 2020 - 12:19 PM
Respectfully Submitted,



WELCH & WEBB, LLC


/s/ Pamela J. Welch
Pamela J. Welch #52821
Jared P. Welch #51860
500 Third St., P.O. Box 1427
Platte City, MO 64079
816-858-3007 telephone
816-858-3105 facsimile
pwelch@welchwebb.com
jwelch@welchwebb.com
Attorneys for Plaintiff




   2
                                                                                                    Electronically Filed - DeKalb - November 20, 2020 - 12:19 PM
                                                                             20DK-CC00038

             IN THE CIRCUIT COURT OF DEKALB COUNTY, MISSOURI
SKYLAR D. KOONTZ,                            )
9028 N Walrond Ave.                          )
Kansas City, MO 64156                        )
                                             )
              Plaintiff,                     )
                                             )
vs.                                          )
                                             )
SCHNEIDER ELECTRIC, USA, INC                 )
Serve:                                       )      Case No.:
CSC-LAWYERS INC. SERVICE CO.                 )
221 Bolivar                                  )
Jefferson City, MO 65101                     )      Division:
                                             )
and                                          )
                                             )
DAVID E. WAREN                               )
Serve:                                       )
7727 Acuff Lane                              )
Lenexa, KS 66216                             )
                                             )
              Defendants.                    )

                                PETITION FOR DAMAGES

       COMES NOW Plaintiff Skylar D. Koontz, by and through counsel, and for her cause of

actions against Defendants, Schneider Electric, USA, Inc. & David E. Waren, states and alleges as

follows:

       1.     Plaintiff Skylar D. Koontz is an individual resident and citizen of the State of

Missouri.

       2.     Defendant Schneider Electric, USA, Inc. (hereinafter “Schneider Electric”) is a

foreign corporation with its principal place of business in Boston, Massachusetts, but authorized

to do business in the State of Missouri and can be served with process by serving its registered

agent CSC-Lawyers Incorporating Service Company, 221 Bolivar, Jefferson City, MO 65101.
                                                                                                           Electronically Filed - DeKalb - November 20, 2020 - 12:19 PM
        3.      Defendant David E. Waren (hereinafter “Waren”) is an individual resident and

citizen of the State of Kansas.

        4.      At all times herein, Defendant Waren was operating a motor vehicle within the

course and scope of his employment with Defendant Schneider Electric.

        5.      Plaintiff’s claims arise out of an automobile crash (sometimes referred to as the

“crash” herein) occurring in Dekalb County, Missouri. The Dekalb County Circuit Court is a court

of proper jurisdiction and venue to hear Plaintiff’s claims.

        6.      Jurisdiction and venue are proper in Dekalb County, Missouri pursuant to § 508.010

R.S.M.O., in that Plaintiff first sustained injury as a result of Defendants’ negligence in this county.

                        ALLEGATIONS COMMON TO ALL COUNTS

        7.      At approximately 1:29 p.m. on July 24, 2017 Plaintiff was the restrained driver of

a 2006 Volkswagen Jetta motor vehicle (sometimes referred to as “Plaintiff’s vehicle” herein.)

        8.      Plaintiff’s vehicle was stopped at a stop sign at northbound RP 3667 waiting for

traffic to clear in order to turn east onto US 36 Highway.

        9.      Defendant Waren was the operator of a 2017 Ford Fusion motor vehicle (sometimes

referred to as “Defendant’s vehicle” herein).

        10.     Defendant Waren’s vehicle was owned by Defendant Schneider Electric and

Defendant Waren was operating the vehicle in the course and scope of his employment with

Schneider Electric.

        11.     At approximately the same time and place, Defendant Waren was traveling

behind Plaintiff’s vehicle north on RP 3667 when Defendant Waren failed to slow or stop and
                                                                                                             Electronically Filed - DeKalb - November 20, 2020 - 12:19 PM
slammed into the rear of Plaintiff’s vehicle while she was stopped at the stop sign, causing

injuries to her.

      COUNT I: NEGLIGENCE AGAINST DEFENDANT SCHNEIDER ELECTRIC

        COMES NOW Plaintiff Skylar D. Koontz, by and through counsel, and for Count I of her

Petition for Damages, hereby states and alleges as follows:

        12.        Plaintiff incorporates by reference the allegations contained in Paragraphs 1

through 11 above as if fully set forth herein.

        13.        That the Defendant, Schneider Electric, operating by and through its employee,

agent and servant, Defendant Waren, owed Plaintiff a duty to operate his vehicle with the highest

degree of care, but Defendant Waren failed to do so, and Defendant Schneider Electric, as his

master and/or pursuant to vicarious liability, was therefore negligent, reckless, and careless in the

following respects:

                   a.     Defendant Waren failed to operate the 2017 Ford Fusion motor vehicle in a

                   careful and prudent manner;

                   b.     Defendant Waren failed to failed to exercise the highest degree of care when

                   he knew, or should have known, that there was a reasonable likelihood of a collision

                   in time to thereafter have stopped, swerved, or slackened speed, but Defendant

                   Waren failed to do so;

                   c.     Defendant Waren was following Plaintiff’s vehicle too closely and was

                   unable to slow or stop in time to avoid colliding with the rear of Plaintiff’s vehicle.
                                                                                                         Electronically Filed - DeKalb - November 20, 2020 - 12:19 PM
               d.      Defendant Waren was distracted and or inattentive as he was operating the

               motor vehicle;

               e.      Defendant Waren drove the front of Defendant Schneider Electric’s vehicle

               into the rear of Plaintiff’s vehicle; and

               f.      Defendant Schneider Electric was negligent in failing to properly hire, train,

               and supervise its employees, agents, and servants in the proper operation of vehicles

               its owned.

       14.     That as a direct and proximate cause of       Defendant       Schneider      Electric’s

negligence, Plaintiff has suffered personal injuries including but not limited to her head, neck, back

and has experienced migraines, fatigue, sensitivity to light, mood swings, and difficulty with

concentration together with pain and suffering, mental anguish, medical costs, loss of sleep, and

loss of enjoyment of life, said injuries being permanent, progressive, and continuous in nature.

       15.     That as a further direct and proximate result of Defendant Schneider Electric’s

negligence as set forth above, Plaintiff incurred medical expenses and treatment and is reasonably

certain to incur future additional losses as well as ongoing pain and suffering.

       WHEREFORE, Plaintiff prays for judgement on Count I of her Petition for Damages

against Defendant Schneider Electric for such damages as are fair, reasonable, and in excess of

twenty-five thousand dollars ($25,000), together with interest, costs and such other and further

relief as this Court deems just and proper.
                                                                                                         Electronically Filed - DeKalb - November 20, 2020 - 12:19 PM
          COUNT II: NEGLIGENCE AGAINST DEFENDANT DAVID WAREN

       COMES NOW Plaintiff Skylar D. Koontz, by and through counsel, and for Count II of her

Petition for Damages, hereby states and alleges as follows:

       16.     Plaintiff incorporates by reference the allegations contained in Paragraphs 1

through 15 above as if fully set forth herein.

       17.     That the Defendant Waren owed Plaintiff a duty to operate his vehicle with the

highest degree of care, but Defendant Waren failed to do so and was therefore negligent, reckless,

and careless in the following respects:

               a.      Defendant Waren failed to operate the 2017 Ford Fusion motor vehicle in a

               careful and prudent manner;

               b.      Defendant Waren failed to failed to exercise the highest degree of care when

               he knew, or should have known, that there was a reasonable likelihood of a collision

               in time to thereafter have stopped, swerved, or slackened speed, but Defendant

               Waren failed to do so;

               c.      Defendant Waren was following Plaintiff’s vehicle too closely and was

               unable to slow or stop in time to avoid colliding with the rear of Plaintiff’s vehicle.

               d.      Defendant Waren was distracted and or inattentive as he was operating the

               motor vehicle; and

               e.      Defendant Waren drove the front of Defendant Schneider Electric’s vehicle

               into the rear of Plaintiff’s vehicle.
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       18.     That as a direct and proximate cause of Defendant Waren’s negligence, Plaintiff

has suffered personal injuries including but not limited to her head, neck, back and has experienced

migraines, fatigue, sensitivity to light, mood swings, and difficulty with concentration together

with pain and suffering, mental anguish, medical costs, loss of sleep, and loss of enjoyment of life,

said injuries being permanent, progressive, and continuous in nature.

       19.     That as a further direct and proximate result of Defendan Waren’s negligence as set

forth above, Plaintiff incurred medical expenses and treatment and is reasonably certain to incur

future additional losses as well as ongoing pain and suffering.

       WHEREFORE, Plaintiff prays for judgement on Count II of her Petition for Damages

against Defendant Waren for such damages as are fair, reasonable, and in excess of twenty-five

thousand dollars ($25,000), together with interest, costs and such other and further relief as this

Court deems just and proper.

                                      JURY TRIAL DEMAND

       Demand is hereby made for trial by jury in this case.

                                              Respectfully Submitted,



                                              WELCH & WEBB, LLC

                                              /s/ Pamela J. Welch
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